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 1   Danielle E. Karst (D.C. Bar No. 481881)
     Timothy J. Mulreany (Maryland Bar No. 8812160123)
 2   COMMODITY FUTURES TRADING COMMISSION
     Three Lafayette Centre
 3   1155 21st Street, N.W.
     Washington, D.C. 20581
 4   Telephone: (202) 418-6158 (Karst)
     Telephone: (202) 418-5306 (Mulreany)
 5   Facsimile: (202) 418-5523
     dkarst@cftc.gov
 6   tmulreany@cftc.gov
                                UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8
 9   COMMODITY FUTURES TRADING                           Case No. 2:19-cv-1697-JAD-DJA
     COMMISSION,
10                         Plaintiff,                    CERTIFICATE OF SERVICE OF
11                                                       (1) [PROPOSED] ORDER GRANTING
     v.                                                  PLAINTIFF’S MOTION FOR
12                                                       ALTERNATIVE SERVICE OF PROCESS
     DAVID GILBERT SAFFRON
                                                         ON SAFFRON (ECF NO. 17); (2) MINUTES
13   a/k/a DAVID GILBERT and
                                                         OF PROCEEDINGS (ECF NO. 18); (3)
     CIRCLE SOCIETY, CORP.,
14                                                       ORDER GRANTING PLAINTIFF’S
                           Defendants.                   MOTION FOR ALTERNATIVE SERVICE
15                                                       OF PROCESS ON SAFFRON (ECF NO. 19);
                                                         AND (4) CLERK’S ENTRY OF DEFAULT
16                                                       AS TO DEFENDANT CIRCLE SOCIETY,
                                                         CORP. (ECF NO. 21)
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            On November 7, 2019, I served a copy of Plaintiff’s [Proposed] Order Granting
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     Plaintiff’s Motion for Alternative Service of Process on Defendant Saffron (ECF No. 17),
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     Minutes of Proceedings for Motion Hearing held on October 29, 2019 (ECF No. 18), and the
22
     Court’s Order Granting Plaintiff’s Motion for Alternative Service of Process on Defendant
23

24   Saffron (ECF No. 19), upon Defendant Circle Society, Corp. at the addresses and using the

25   methods of service as described below.
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                                                    1
           Case 2:19-cv-01697-JAD-DJA Document 22 Filed 11/08/19 Page 2 of 2



            In addition, on November 5, 2019, I served a copy of the Clerk’s Entry of Default as to
 1

 2   Circle Society, Corp. (ECF No. 21) upon Defendant Circle Society, Corp. at the addresses and

 3   using the methods of service as described below.

 4   Circle Society, Corp.                              Circle Society, Corp.
     c/o Registered Agent, Preston Sterling Kerr        c/o Michael C. Van, Esq.
 5
     2450 Saint Rose Parkway, Suite 120                 8985 S. Eastern Ave., Suite 100
 6   Henderson, NV 89074                                Las Vegas, NV 89123

 7   Dated: November 8, 2019                         Respectfully submitted,
 8                                                   By: /s/ Danielle E. Karst
                                                     Danielle E. Karst
 9                                                   Timothy J. Mulreany
                                                     COMMODITY FUTURES TRADING
10                                                   COMMISSION
                                                     Three Lafayette Centre
11                                                   1155 21st Street, N.W.
                                                     Washington, D.C. 20581
12                                                   Telephone: (202) 418-5000
                                                     Facsimile: (202) 418-5523
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